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           Ursula Byram et al v. County of Los Angeles et al- 2:23-cv-09285-KS



 Trial -X - Jury (Mon., 8:30 a.m.)                               February 10, 2025

 Pretrial Conference (Tues. 10:00 a.m.)
 (Including hearing on motions in limine)                        January 21, 2025,
                                                          =
 Motion to Amend Pleadings/ Add Parties
                                                                   April 12, 2024
 (Hearing Deadline)
 Discovery Deadline - Nonexpert                                     July 16, 2024

 Discovery Deadline - Expert                                    September 24, 2024
  Initial Expert Disclosure                                      September 3, 2024
  Rebuttal Expert Disclosure                                    September 17, 2024
 Discovery Motion Hearing Deadline1                                August 9, 2024

 Non-Discovery Motion Hearing Deadline                             August 9, 2024
 Settlement Conference Deadline
                                                                  August 23, 2024
 □ 1. Mag. J. 2. Panel X 3. Private
 Post-Settlement Status Conf. (Fri., 8:30 a.m.):                 September 6, 2024
 Joint Status Report Due (7 days before by 9:00 a.m.):            August 30, 2024
 Trial Filings (First Set) Deadline                               October 8, 2024

 Trial Filings (Second Set) Deadline                             October 22, 2024
